Case 8:15-cV-00987-.]DW-I\/|AP Document 42 Filed 10/03/17 Page 1 of 2 Page|D 169

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIV{SION
UNITED S'I`A'I`ES OF AMERICA and
STATE OF FLORII}A ex rel. KATI~ILEEN
M. SIWICKI,
PIaintiffoRelator,
v. Case No. 8:15-cV-987-T-27MAP
ARTHUR S. PORTNOW, M.D. and
ARTHUR S. PORTNOW M.D., P.A. d/b/a
APPLE MEDICAL AND CARDIOLOGY
GROUP,

Defcndants.
/

ORDER

BEFORE THE COURT is the United States’ Notice ofProposed Settlement (Dkt. 39). The
government requests, With the Rclator and B*efenda.ntsg consent, that the Couit administratively close
this case pursuant to Local Rule 3.08(b) due to the proposed settlement The State of Florida
separater filed a notice of its consent to administratively closing the case and to a voluntary
dismissal should the Relator chose to do so. (Dkt. 41).

Accordingly, pursuant to Local Rule 3.08(h), M.D. Fla., this case is DISMISSED without
prejudice and subject to the right of the paities, Within sixty (60) days of the date of this order, to
submit a stipulated form of final order or judgment should they so choose or Jfor any party to move
to reopen the action, upon good cause shown All pending motions, if any, are DENIED as moot.

The Clerk is directed to ADMINISTRATIVELY CLOSE the file.

Case 8:15-cV-00987-.]DW-I\/|AP Document 42 Filed 10/03/17 Page 2 of 2 Page|D 170

DONE AND 0R1)ERED this 3 ’ day of october, 2017.

    

S D. WHITTEMORE
Umted States District Judge

Copies to: Counsel of record

